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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                    Criminal Case No. 07-20327

       vs.                                    HONORABLE JULIAN ABELE COOK, JR.

D-1 ROY M. BAILEY,                            MAGISTRATE JUDGE MONA MAJZOUB
D-2 ANTONIO IVEZAJ,
D-3 TALAL KHALIL CHAHINE,
D-4 MOHAMAD ARZOUNI,
D-5 MOHAMMAD BAZZI.

               Defendants.


                                                 /

        JOINT MOTION FOR THE ENTRY OF AN ORDER SETTING STATUS
            CONFERENCE AND DETERMINING EXCLUDABLE DELAY

       The parties herein, through their attorneys of record, present this joint motion for the

entry of an Order setting the next status conference in this matter for April 1, 2008 and

determining excludable delay in this matter. In support of this motion, the parties submit the

following:

       1.      This case involves charges of bribery, extortion and conspiracy to defraud the

United States in matters relating to the operations of the U.S. Immigration and Naturalization

Service/U.S. Immigration and Customs Enforcement. There are extensive discovery materials in

this case which include well over 5,000 pages of documents, including law enforcement reports,

transcripts, financial records and telephone records. There are also more than 20 boxes of

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materials obtained during the execution of multiple search warrants. Discovery materials also

include audio and video recordings, as well as official immigration files for over 50 individuals.

        2.      Over the past four months, counsel for the United States and counsel for each of

the defendants who have been arraigned in this matter have met regularly to attempt to streamline

the production and inspection of discovery materials.

        3.      On February 11, 2008, the parties appeared by telephone for a status conference

with the Court. At that time, counsel for each of the defendants requested that a subsequent

status conference be scheduled with the Court on April 1, 2008 for the purpose of setting dates

for the filing of motions as well as a plea cut off date.

        4.      Counsel for each defendant requests adequate time to determine if the pending

case can be resolved through a plea, thereby saving the expenditure of unnecessary judicial

resources, and to otherwise adequately prepare for trial in this matter.

        5.     The undersigned counsel further submit that failure to allow this extension of time

may result in a miscarriage of justice. As such, the parties agree that the time period between

October 2, 2006 up to and including April 1, 2008 shall constitute excludable delay under the

provisions of the Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(A), in that the ends of justice served

by this delay outweigh the best interest of the public and the defendants in a speedy trial.




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       WHEREFORE, the parties request that the Court accept this Stipulation and issue the

accompanying proposed Order.


Respectfully submitted,

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Dated: February 21, 2008


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